                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR05-3008-MWB
 vs.                                          ORDER ACCEPTING MAGISTRATE
                                                   JUDGE’S REPORT AND
 STACY BROOD, a/k/a “Beetle,”
                                              RECOMMENDATION REGARDING
               Defendant.                       DEFENDANT’S GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On January 19, 2005, an indictment was returned against defendant Stacy Brood,
charging defendant with conspiring to manufacture and distribute 50 grams or more of
crack cocaine, in violation of 21 U.S.C. § 846. On April 21, 2005, defendant appeared
before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count
of 1 of the indictment. On this same date, Judge Zoss filed a Report and Recommendation
in which he recommends that defendant’s guilty plea be accepted. No objections to Judge
Zoss’s Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].




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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of April 21, 2005,
and accepts defendant’s plea of guilty in this case to Count 1 of the indictment.
       IT IS SO ORDERED.
       DATED this 6th day of May, 2005.




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